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|N THE UN|TED STATES D|STR|CT COURT

FOR THE NORTHERN D|STR|CT OF CAL|FORN|A

IN RE CATHODE RAY TUBE (CRT) ANTITRUST
L|T|GAT|ON

This Order Relates to:
Crago, d/b/a Dash Computers, Inc., et al v
Mitsubishi Electric Corporat/'on et al,

Case No 14-CV-2058-JST

 

 

 

 

MDL No 1917
Case No 3:07-cv-05944-JST
ORDER SETT|NG BR|EF|NG SCHEDULE FOR

DPPS' MOT|ON TO QUASH DEPOS|T|ON
OF C C L|U

The undersigned is in receipt of the Direct Purchaser P|aintiffs’ (”DPPs”) Motion

to Quash the Notice of Deposition Upon Written Questions of C C Liu Pursuant to Federa| Ru|e

of Civi| Procedure 31, submitted on Ju|y 26, 2016.

An abbreviated briefing schedule appears in order. According|y, Mitsubishi shall

submit its Opposition memorandum and accompanying documents no later than Tuesday,

ORDER SE`I`|'|NG BR|EF|NG SCHEDULE FOR DPPS' MOT|ON TO QUASH C C LIU DEPOS|T|ON PAGE 1 OF 2

 

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August 2, 2016, and the DPPs' Rep|y and accompanying documents shall be submitted no later
than Friday, August 5, 2016.

|T |S SO ORDERED.

Date: iulyz? 2016
/ b o//»/_`

Vaughn R Wa|ker
United States District Judge (Ret)

 

ORDER SETT|NG BR|EF|NG SCHEDULE FOR DPPS' MOT|ON TO QUASH C C L|U DEPOS|T|ON PAGE 2 OF 2

 

